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  BRORX 531.01 *                  INMATE HISTORY                *     08-02-2024
PAGE 001       *                    QUARTERS                    *     12:54:56

 REG NO..: 28332-509 NAME....: SAMSEL, RYAN STEPHEN
 CATEGORY: QTR       FUNCTION: PRT         FORMAT:

FCL     ASSIGNMENT DESCRIPTION                     START DATE/TIME STOP DATE/TIME
BRO     K05-815L   HOUSE K/RANGE 05/BED 815L       07-18-2024 1715 CURRENT
BRO     K05-823L   HOUSE K/RANGE 05/BED 823L       07-07-2024 1232 07-18-2024 1715
BRO     K05-815L   HOUSE K/RANGE 05/BED 815L       06-20-2024 1649 07-07-2024 1232
BRO     K05-815L   HOUSE K/RANGE 05/BED 815L       05-16-2024 1411 06-20-2024 1648
BRO     K05-816L   HOUSE K/RANGE 05/BED 816L       05-13-2024 1450 05-16-2024 1411
BRO     J01-706U   HOUSE J/RANGE 01/BED 706U       05-13-2024 1343 05-13-2024 1450
BRO     Z03-110LAD HOUSE Z/RANGE 03/BED 110L AD    05-13-2024 1114 05-13-2024 1343
BRO     Z03-114LAD HOUSE Z/RANGE 03/BED 114L AD    04-25-2024 1959 05-13-2024 1114
BRO     J02-707L   HOUSE J/RANGE 02/BED 707L       03-27-2024 1022 04-25-2024 1959
BRO     J01-727U   HOUSE J/RANGE 01/BED 727U       03-05-2024 1449 03-27-2024 1022
BRO     G01-421U   HOUSE G/RANGE 01/BED 421U       03-05-2024 1105 03-05-2024 1449
BRO     G01-404U   HOUSE G/RANGE 01/BED 404U       02-27-2024 1235 03-05-2024 1105
BRO     R02-001L   HOUSE R/RANGE 02/BED 001L       02-27-2024 1050 02-27-2024 1235
LEW     A03-304L   HOUSE A/RANGE 03/BED 304L       02-20-2024 1843 02-27-2024 0534
LEW     R01-001L   HOUSE R/RANGE 01/BED 001L       02-20-2024 1500 02-20-2024 1843
BRO     H04-528L   HOUSE H/RANGE 04/BED 528L       09-20-2023 1938 09-21-2023 0843
BRO     H03-503U   HOUSE H/RANGE 03/BED 503U       09-20-2023 1930 09-20-2023 1938
BRO     Z04-121UAD HOUSE Z/RANGE 04/BED 121U AD    09-18-2023 1528 09-20-2023 1930
BRO     Z04-121LAD HOUSE Z/RANGE 04/BED 121L AD    09-08-2023 0739 09-18-2023 1528
BRO     Z04-126UAD HOUSE Z/RANGE 04/BED 126U AD    09-05-2023 1919 09-08-2023 0739
BRO     Z04-125UAD HOUSE Z/RANGE 04/BED 125U AD    09-05-2023 1225 09-05-2023 1919
BRO     Z04-126UAD HOUSE Z/RANGE 04/BED 126U AD    08-23-2023 1307 09-05-2023 1225
BRO     Z04-109UAD HOUSE Z/RANGE 04/BED 109U AD    08-16-2023 1939 08-23-2023 1307
BRO     H01-511L   HOUSE H/RANGE 01/BED 511L       05-25-2023 1510 08-16-2023 1939
BRO     H02-515U   HOUSE H/RANGE 02/BED 515U       05-01-2023 1258 05-25-2023 1510
BRO     G01-416U   HOUSE G/RANGE 01/BED 416U       04-26-2023 0141 05-01-2023 1258
BRO     R02-001L   HOUSE R/RANGE 02/BED 001L       04-25-2023 2229 04-26-2023 0141
LEW     Z03-220UAD HOUSE Z/RANGE 03/BED 220U AD    04-22-2023 0851 04-25-2023 1819
LEW     Z03-219UAD HOUSE Z/RANGE 03/BED 219U AD    04-01-2023 0915 04-22-2023 0851
LEW     Z03-218UAD HOUSE Z/RANGE 03/BED 218U AD    03-11-2023 0945 04-01-2023 0915
LEW     Z03-217UAD HOUSE Z/RANGE 03/BED 217U AD    03-01-2023 1405 03-11-2023 0945
LEW     C02-221U   HOUSE C/RANGE 02/BED 221U       12-22-2022 1055 03-01-2023 1405
LEW     C02-221U   HOUSE C/RANGE 02/BED 221U       11-18-2022 1201 12-22-2022 0823
LEW     C02-221U   HOUSE C/RANGE 02/BED 221U       11-08-2022 2106 11-18-2022 0812
LEW     C02-213U   HOUSE C/RANGE 02/BED 213U       10-17-2022 1332 11-08-2022 2106
LEW     C02-218L   HOUSE C/RANGE 02/BED 218L       09-22-2022 0809 10-17-2022 1332
LEW     G02-221L   HOUSE G/RANGE 02/BED 221L       09-19-2022 1701 09-22-2022 0809
LEW     R01-001L   HOUSE R/RANGE 01/BED 001L       09-19-2022 1515 09-19-2022 1701
PHL     Z01-829UAD HOUSE Z/RANGE 01/BED 829U AD    08-31-2022 1553 09-19-2022 0929
PHL     Z01-827UAD HOUSE Z/RANGE 01/BED 827U AD    08-14-2022 1156 08-31-2022 1553
PHL     Z01-829UAD HOUSE Z/RANGE 01/BED 829U AD    08-08-2022 1251 08-14-2022 1156




G0002         MORE PAGES TO FOLLOW . . .
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 REG NO..: 28332-509 NAME....: SAMSEL, RYAN STEPHEN
 CATEGORY: QTR       FUNCTION: PRT         FORMAT:

FCL     ASSIGNMENT DESCRIPTION                     START DATE/TIME STOP DATE/TIME
PHL     Z01-829UAD HOUSE Z/RANGE 01/BED 829U AD    08-02-2022 1424 08-08-2022 0939
PHL     Z01-829UAD HOUSE Z/RANGE 01/BED 829U AD    07-20-2022 1006 08-02-2022 1157
PHL     Z01-828LAD HOUSE Z/RANGE 01/BED 828L AD    07-18-2022 1000 07-20-2022 1006
PHL     Z01-803UAD HOUSE Z/RANGE 01/BED 803U AD    07-02-2022 0759 07-18-2022 1000
PHL     Z01-804UAD HOUSE Z/RANGE 01/BED 804U AD    06-28-2022 1306 07-02-2022 0759
PHL     Z01-804UAD HOUSE Z/RANGE 01/BED 804U AD    06-28-2022 0956 06-28-2022 0958
PHL     Z01-804UAD HOUSE Z/RANGE 01/BED 804U AD    06-13-2022 0850 06-28-2022 0950
PHL     Z01-800LAD HOUSE Z/RANGE 01/BED 800L AD    06-13-2022 0841 06-13-2022 0850
PHL     Z01-803LAD HOUSE Z/RANGE 01/BED 803L AD    05-24-2022 1721 06-13-2022 0841
PHL     C01-329L   HOUSE C/RANGE 01/BED 329L       05-23-2022 1932 05-24-2022 1721
PHL     R01-001L   HOUSE R/RANGE 01/BED 001L       05-23-2022 1822 05-23-2022 1932
PHL     R01-001L   HOUSE R/RANGE 01/BED 001L       05-23-2022 1811 05-23-2022 1820
LEW     C03-319U   HOUSE C/RANGE 03/BED 319U       03-29-2022 1152 05-23-2022 0847
LEW     B01-122L   HOUSE B/RANGE 01/BED 122L       03-19-2022 1118 03-29-2022 1152
LEW     B01-117L   HOUSE B/RANGE 01/BED 117L       03-19-2022 1116 03-19-2022 1118
LEW     B01-122L   HOUSE B/RANGE 01/BED 122L       03-14-2022 1726 03-19-2022 1116
LEW     R01-001L   HOUSE R/RANGE 01/BED 001L       03-14-2022 1455 03-14-2022 1726
PHL     C02-350L   HOUSE C/RANGE 02/BED 350L       03-03-2022 1507 03-14-2022 0741
PHL     C01-306L   HOUSE C/RANGE 01/BED 306L       03-01-2022 1744 03-03-2022 1507
PHL     R01-001L   HOUSE R/RANGE 01/BED 001L       03-01-2022 1247 03-01-2022 1744
PHL     C01-328L   HOUSE C/RANGE 01/BED 328L       01-30-2021 1339 02-17-2021 0915
PHL     R01-001L   HOUSE R/RANGE 01/BED 001L       01-30-2021 1243 01-30-2021 1339




G0000         TRANSACTION SUCCESSFULLY COMPLETED
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                              District of Columbia




           Defendant(s)




 Code Section                                    Offense Description




                                                               Complainant’s signature


                                                                Printed name and title




                                                                  Judge’s signature


                                                                Printed name and title
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                                   STATEMENT OF FACTS

        Your affiant, STEWART CURCIO, is a special agent with the Federal Bureau of
Investigation currently assigned to the Washington Field Office (WFO) in Washington D.C. and
on the Violent Crimes Task Force. In my duties as a special agent, I have investigated a variety
of violent crimes, including kidnappings, carjacking, fugitive cases, and other crimes of violence
involving deadly weapons. Currently, I am a tasked with investigating criminal activity in and
around the Capitol grounds on January 6, 2021. As a Special Agent for the FBI, I am authorized
by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol. As
noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Pence, were instructed to and did evacuate the chambers. Accordingly, the joint session of the
United States Congress was effectively suspended until shortly after 8:00 p.m. Vice President
Pence remained in the United States Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                      BACKGROUND
                               Ryan Stephen Samsel (DOB           /1983)

       Your affiant has obtained multiple videos of what occurred on January 6 that depict an
individual identified as RYAN STEPHEN SAMSEL (DOB                       /1983) assaulting a U.S.
Capitol Police Officer and engaging in disruptive or disorderly conduct. Video footage shows that
at approximately 12:45 p.m. on January 6, 2021, as preparations for the proceedings described
above were underway in the House and the Senate, a large crowd gathered to the West of the U.S.
Capitol around the Peace Monument, located in the Pennsylvania Avenue, NW, and 1st Street,
NW, roundabout,




                          Figure 1. Aerial Imagery of U.S. Capitol Grounds.


     The crowd then moved southeast to the threshold of the sidewalk that connects Peace Circle

Capitol Police Officers. Metal barricades had been put in place by U.S. Capitol Police Officers.
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The metal barricades were intended to keep the public away from the Capitol building and the
Congressional proceedings underway inside.

        At approximately 12:50 p.m., SAMSEL was observed walking past the fence line with one
other individual. (see Figure 2 below). The two approached a second line of barricades that were
manned by uniformed U.S. Capitol Police Officers. The second line of barricades were constructed
of metal bike rack barriers, physically linked end to end, and reinforced with dark colored plastic
mesh safety fencing affixed behind the metal bike racks. The fence line was clearly marked with
                                                                                    . (see Figure 3
below).




      Figure 2. SAMSEL (boxed in red) Leading Crowd to Barricades Blocking Access to
                                 Pennsylvania Walkway.




                                             Figure 3

Upon approaching the barricade manned by U.S. Capitol Police Officers, SAMSEL immediately
became confrontational with a U.S. Capitol Police Officer with an aggressive posture (see Figure
4 below).
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                                                            Officer
                                    SAMSEL
                                                             O-1




               Figure 4. SAMSEL Confronting Uniformed U.S. Capitol Police Officers.

SAMSEL and others in the crowd pushed and pulled on the barricades. SAMSEL eventually
removed his light blue jacket, revealing a long sleeve white-hooded shirt under a black t-shirt and
turned his hat around backwards in a manner that appears as if SAMSEL was preparing for a
physical altercation. (See Figures 5-10 below).




Figure 5. SAMSEL Pushing & Pulling on Barricades      Figure 6. SAMSEL Removing Jacket




Figure 7               Figure 8. Turning Hat   Figure 9-10. Pushing & Pulling Barricades
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After removing his jacket, SAMSEL pushed and pulled the barricades until the crowd successfully
pushed the barricades down on top of the officers. In the process of pushing the barricades to the
ground, SAMSEL and others knocked over U.S. Capitol Police Officer (hereinafter Officer-         -
1                                                                Capitol, causing O-1
the stairs behind her, resulting in a loss of consciousness. SAMSEL picked O-1 up off the ground
and, according to O-1, said,                                                                   See
Figures 11 and 12 below. U.S. Capitol Police Officers immediately took a semi-conscious O-1
away from SAMSEL and told her to go toward the West Terrace of the U.S. Capitol Building to
regroup with additional Officers for her safety. Hours later while arresting a rioter, O-1 blacked
out and collapsed in the booking area and had to be transported to the Emergency Room at a local
hospital, where she was assessed to have suffered a concussion.




   Figure 11. Officer O-1 on Stairs after Being Knocked Down       Figure 12. SAMSEL
                                                                   and Officer O-1

After U.S. Capitol Police Officers were able to reform the police line after the initial surge by
SAMSEL and others that resulted in the barricades being breached and O-1 being injured, the
crowd again confronted U.S. Capitol Police Officers on the West Terrace of the U.S. Capitol
building. Moments later, SAMSEL can be seen advancing further into the U.S. Capitol Grounds,
which remained closed to the public. While among others in the crowd at the West Terrace,
SAMSEL attempted to pull a riot shield from a uniformed U.S. Capitol Police Officer (see Figures
13, 14, 15 below).




Figure 13. SAMSEL    Figure 14. SAMSEL Confronting Police          Figure 15. SAMSEL
   Advancing                                                       pulling on Riot Shield
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     After interviewing O-1 and obtaining videos and depictions of the individual identified above
as SAMSEL, the FBI ran several law enforcement database searches. These searches revealed a
possible match for the individual depicted in the videos and images as RYAN SAMSEL (DOB
      /1983). Your affiant ran a criminal history check of SAMSEL and discovered that he is on
parole in Pennsylvania and that he is currently wanted in Riverside, New Jersey on a non-
extraditable warrant from 2019 arising out of an alleged assault. Your aff
license photograph of SAMSEL and his appearance is consistent with the individual in the
screenshots above.

       On January 27, 2021, your Affiant spoke to a Parole Agent in the Intelligence Unit of the
Pennsylvania Parole Board/Department of Corrections. The Parole Agent indicated that SAMSEL
provided his number as            -2865 and that he had provided a residential address in Bristol,
PA, stating that he lived with his Aunt and Uncle. Your affiant conducted open source database
checks and found a female and male to be associated with the residence.

       On Tuesday, January 26, a Federal Magistrate judge in the District of Columbia issued a
search warrant for cellular phone data for the 2865 phone number identified above. The data
provided by the cellular telephone provider revealed that the user of the cellular phone had traveled
from Levittown, PA to the vicinity of the District of Columbia and then back to the Philadelphia,
PA area on January 6, 2021. The subscriber for the cellular phone was listed as an individual with
the same last name as persons associated with the residential address in Bristol, PA that SAMSEL
                                                                                                . The
account effective date was March 3, 2020, and the activation date was September 11, 2020.

       Based on the foregoing, your affiant submits that there is probable cause to believe that
SAMSEL violated 18 U.S.C. § 111, which makes it a crime to forcibly assault, resists, oppose,
impede, intimidate, or interfere with a federal agent while they are engaged in their official duties
and separately provides for enhanced penalties when bodily injury is inflicted.

        Your affiant submits there is also probable cause to believe that SAMSEL violated 18
U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.
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 Finally, your affiant submits there is probable cause to believe that SAMSEL violated 18 U.S.C.
§ 1512(c)(2), which makes it a crime to obstruct, influence, or impede any official proceeding, or
attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are official proceedings.


                                                    _________________________________
                                                    Stewart Curcio. Special Agent
                                                    Federal Bureau of Investigations

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 29th day of January 2021.

                                                    ___________________________________
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                               EXHIBIT 3
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                                 10 Filed
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                               EXHIBIT 4
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  BRORX         *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *     07-31-2024
PAGE 001 OF                                                        08:23:45
     FUNCTION: L-P SCOPE: REG   EQ 28332-509     OUTPUT FORMAT: FULL
-------LIMITED TO SUBMISSIONS WHICH MATCH ALL LIMITATIONS KEYED BELOW----------
DT RCV: FROM __________ THRU __________ DT STS: FROM __________ THRU __________
DT STS: FROM ___ TO ___ DAYS BEFORE "OR" FROM ___ TO ___ DAYS AFTER DT RDU
DT TDU: FROM ___ TO ___ DAYS BEFORE "OR" FROM ___ TO ___ DAYS AFTER DT TRT
STS/REAS: ______ ______ ______ ______ ______ ______ ______ ______ ______ ______
SUBJECTS: ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____
EXTENDED: _ REMEDY LEVEL: _ _              RECEIPT: _ _ _ "OR" EXTENSION: _ _ _
RCV OFC : EQ ____        ____       ____       ____       ____       ____
TRACK: DEPT: __________ __________ __________ __________ __________ __________
      PERSON: ___        ___        ___        ___        ___        ___
        TYPE: ___        ___        ___        ___        ___        ___
EVNT FACL: EQ ____       ____       ____       ____       ____       ____
RCV FACL.: EQ ____       ____       ____       ____       ____       ____
RCV UN/LC: EQ __________ __________ __________ __________ __________ __________
RCV QTR..: EQ __________ __________ __________ __________ __________ __________
ORIG FACL: EQ ____       ____       ____       ____       ____       ____
ORG UN/LC: EQ __________ __________ __________ __________ __________ __________
ORIG QTR.: EQ __________ __________ __________ __________ __________ __________




G0002       MORE PAGES TO FOLLOW . . .
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  BRORX           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *    07-31-2024
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REGNO: 28332-509 NAME: SAMSEL, RYAN
RSP OF...: BRO UNT/LOC/DST: 4 DETC M/W           QTR.: K05-815L    RCV OFC: PHL
REMEDY ID: 1133903-F1      SUB1: 26AS SUB2: 26BS DATE RCV:    09-13-2022
UNT RCV..:5 SOUTH        QTR RCV.: Z01-829UAD    FACL RCV: PHL
UNT ORG..:5 SOUTH        QTR ORG.: Z01-829UAD    FACL ORG: PHL
EVT FACL.: PHL    ACC LEV:                          RESP DUE:
ABSTRACT.: MEDICAL CARE - DELAY/ACCESS TO IMPROPER/INADEQUATE
STATUS DT: 09-15-2022 STATUS CODE: REJ STATUS REASON: CON INF ONE
INCRPTNO.:            RCT:   EXT:   DATE ENTD: 09-15-2022
REMARKS..: YOU DID NOT ATTEMPT INFORMAL RESOLUTION PRIOR
           YOU MAY ONLY SUBMIT UP TO ONE LETTER-SIZE CON'T PAGE



REGNO: 28332-509 NAME: SAMSEL, RYAN
RSP OF...: BRO UNT/LOC/DST: 4 DETC M/W           QTR.: K05-815L    RCV OFC: NER
REMEDY ID: 1151380-R1      SUB1: 20DM SUB2:      DATE RCV:    01-03-2023
UNT RCV..:C-BLOCK        QTR RCV.: C02-221U      FACL RCV: LEW
UNT ORG..:C-BLOCK        QTR ORG.: C02-221U      FACL ORG: LEW
EVT FACL.: LEW    ACC LEV:                          RESP DUE:
ABSTRACT.: DHO APPEAL
STATUS DT: 02-14-2023 STATUS CODE: REJ STATUS REASON: INS
INCRPTNO.:            RCT:   EXT:   DATE ENTD: 02-14-2023
REMARKS..:




G0002         MORE PAGES TO FOLLOW . . .
     Case 1:24-cv-05026-RPK Document 10 Filed 08/20/24 Page 25 of 25 PageID #: 254
  BRORX         *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *       07-31-2024
PAGE 003 OF 003 *             FULL SCREEN FORMAT             *       08:23:45


REGNO: 28332-509 NAME: SAMSEL, RYAN
RSP OF...: BRO UNT/LOC/DST: 4 DETC M/W            QTR.: K05-815L    RCV OFC: BOP
REMEDY ID: 1153818-A1       SUB1: 20BM SUB2:      DATE RCV:    02-27-2023
UNT RCV..:C-BLOCK        QTR RCV.: C02-221U       FACL RCV: LEW
UNT ORG..:C-BLOCK        QTR ORG.: C02-221U       FACL ORG: LEW
EVT FACL.: LEW     ACC LEV:                          RESP DUE:
ABSTRACT.: DHO APPEAL 12/7/22; CODE 297
STATUS DT: 03-09-2023 STATUS CODE: REJ STATUS REASON: WRL RAP
INCRPTNO.: 3703430    RCT:    EXT:   DATE ENTD: 03-09-2023
REMARKS..:




REGNO: 28332-509 NAME: SAMSEL, RYAN
RSP OF...: BRO UNT/LOC/DST: 4 DETC M/W           QTR.: K05-815L    RCV OFC: NER
REMEDY ID: 1151380-R2      SUB1: 20DM SUB2:      DATE RCV:    03-14-2023
UNT RCV..:C-BLOCK        QTR RCV.: Z03-218UAD    FACL RCV: LEW
UNT ORG..:C-BLOCK        QTR ORG.: C02-221U      FACL ORG: LEW
EVT FACL.: LEW    ACC LEV:                          RESP DUE:
ABSTRACT.: DHO APPEAL
STATUS DT: 04-10-2023 STATUS CODE: REJ STATUS REASON: LEG OTH
INCRPTNO.:            RCT:   EXT:   DATE ENTD: 04-10-2023
REMARKS..: PAGE 3 AND 4 ARE NOT LEGIBLE.
           YOU MUST NOT WRITE IN BOX B.




                 4 REMEDY SUBMISSION(S) SELECTED
G0000       TRANSACTION SUCCESSFULLY COMPLETED
